         Case 20-33948 Document 2925-1 Filed in TXSB on 09/20/23 Page 1 of 2

                                                    EXHIBIT A


                              UNITED STATES BANKRUPTCY COURT
                                SOUTHERN DISTRICT OF TEXAS
                                      HOUSTON DIVISION

    In re:                                                §         Chapter 11
                                                          §
    FIELDWOOD ENERGY III LLC, et al.                      §         Case No. 20-33948 (MI)
                                                          §
                                                          §         (Jointly Administered)
                  Post-Effective date Debtors. 1          §

             ORDER GRANTING THE PLAN ADMINISTRATOR’S OBJECTION TO
                         SUPERIOR PERFORMANCE, INC.’S
                                PROOF OF CLAIM
                              [Related to POC No. 814]

             Upon the Objection (the “Objection”) 2 of David Dun (“Administrator”), as Plan

Administrator of Fieldwood Energy III LLC, Fieldwood Energy Offshore LLC, Fieldwood Energy

Inc., GOM Shelf LLC and FW GOM Pipeline, Inc., seeking entry of an order (this “Order”) to

Superior Performance, Inc’s Proof of Claim No. 814 (the “Superior Claim”); and consideration of

the Objection and the relief requested therein being a core proceeding pursuant to 28 U.S.C. §

157(b); and venue being proper before this Court pursuant to 28 U.S.C. §§ 1408 and 1409; and

due and proper notice of the Objection having been provided; and the Court having found and

determined that the relief sought in the Objection is in the best interests of the Post-Effective Date

Debtors, their estates, creditors, and all parties in interest, and that the legal and factual bases set


1
  The Post-Effective Date Debtors, along with the last four digits of each Post-Effective Date Debtor’s federal tax
identification number, as applicable, are: Fieldwood Energy III LLC (6778); Fieldwood Energy Offshore LLC (4494);
Fieldwood Energy, Inc. (4991, GOM Shelf LLC (8107), and FW GOM Pipeline, Inc. (8440). Fieldwood Energy III
LLC, Fieldwood Energy Offshore, LLC, and Fieldwood Energy Inc. are managed and operated by the Plan
Administrator, whose primary mailing address is 16255 Ventura Blvd., Suite 440, Encino, CA, 91436, C/O Province
LLC. GOM Shelf LLC and FW GOM Pipeline, Inc. (collectively, the “Post-Effective Date FWE I Subsidiaries”)
are managed and operated by Jon Graham, as sole manager of each Post-Effective Date FWE I Subsidiary. The
Debtors in the other nine pending chapter 11 cases (which continue to be jointly administered with the cases of the
Post-Effective Date Debtors), each of which have either been dissolved or merged into other entities as of the Effective
Date, consist of the following: Dynamic Offshore Resources NS, LLC (0158); Fieldwood Offshore LLC (3489);
Fieldwood SD Offshore LLC (8786); Fieldwood Offshore LLC (2930); Bandon Oil and Gas GP, LLC (9172); Bandon
Oil and Gas, LP (9266); Fieldwood Energy SP LLC (1971); Galveston Bay Pipeline LLC (5703; and Galveston Bay
Processing LLC (0422).
2
  Capitalized terms used but not defined herein shall have the meanings ascribed to them in the Objection.
      Case 20-33948 Document 2925-1 Filed in TXSB on 09/20/23 Page 2 of 2




forth in the Objection establish just cause for the relief granted herein; and after due deliberation

and sufficient cause appearing therefor, it is HEREBY ORDERED THAT:

        1.       The Objection is sustained as set forth herein.

        2.       The Superior Claim is reclassified as a general unsecured claim.

        3.       Except as otherwise provided in this Order, nothing in this Order shall be deemed:

(a) an admission as to the validity of any claim against the Debtors; (b) a waiver of the

Administrator’s rights to dispute any claim on any grounds; (c) a promise or requirement to pay

any claim; (d) an implication or admission that any particular claim is of a type specified or defined

in this Objection or any order granting the relief requested by this Objection; (e) a request or

authorization to assume any prepetition agreement, contract, or lease pursuant to Section 365 of

the Bankruptcy Code; or (f) a waiver of the Administrator’s rights under the Bankruptcy Code or

any other applicable law.

        4.       Kroll Restructuring Administration LLC, the Debtors’ claims and noticing agent,

(the “Claims Agent”) is authorized and directed to update the claims register maintained in these

chapter 11 cases to reflect the relief granted in this Order.

        5.       The Administrator, the Claims Agent, and the Clerk of the Court are authorized to

take all actions necessary to effectuate the relief granted pursuant to this Order in accordance with

the Objection.

        6.       This Court retains exclusive jurisdiction to resolve any dispute arising from or

related to this Order.

Signed: _________________, 2023




                                               Honorable Marvin Isgur
